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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KREDWARD A. WILLIAMS                   :               CIVIL ACTION
                                       :
                                       :
            v.                         :
                                       :
                                       :
                                                 NO.: 17-cv-2641
JEFF SESSIONS, et al.
                                   ORDER

            AND NOW, this 19th day of AUGUST, 2022, in accordance with the

court’s procedure for random reassignment of cases, it is hereby,

            ORDERED that the above captioned is reassigned from the calendar

of the Honorable Robert F. Kelly to the calendar of the Honorable John M. Younge

for further proceedings.



                                           FOR THE COURT:



                                           JUAN R. SÁNCHEZ
                                           Chief Judge


                                           ATTEST:


                                           /s/GEORGE WYLESOL__________
                                           GEORGE WYLESOL
                                           Clerk of Court
